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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

                                                 )
SARAH JEAN WISE,                                 )
                                                 )
       Petitioner,                               )
                                                 )
vs.                                              )   CIVIL ACTION NO. 04-0808-CG
                                                 )
                                                 )   CRIMINAL NO. 02-00190-CG
UNITED STATES                                    )
                                                 )
       Respondent.                               )

                                             ORDER

       This matter is before the court on the motion of petitioner, Sarah Jean Wise, under 28

U.S.C. § 2255 to vacate, set aside or correct sentence (Doc. 242), and the United States’ response

(Doc. 267). The court finds that petitioner’s claims are due to be denied based on the appeal

waiver in petitioner’s written plea agreement, on petitioner’s procedural default of the issues,

and because they lack merit. Therefore, petitioner’s motion to vacate, set aside or correct

sentence is due to be denied.

                                        BACKGROUND

       On December 18, 2002, petitioner pled guilty, pursuant to a written plea agreement, to

conspiracy to manufacture more than 50 grams of methamphetamine in violation of 21 U.S.C. §

846. Petitioner’s plea agreement included an appeal waiver. It also contained a waiver of her

right to a post-conviction proceeding or collateral attack of her sentence except in limited

circumstances. The limited waiver allowed for habeas relief in the following circumstances:

       a. Any punishment imposed in excess of the statutory maximum.



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        b. Any punishment that constitutes an upward departure.

        c. A claim of ineffective assistance of counsel.

(Plea Agreement, p. 8).

        Petitioner was originally sentenced to 36 months imprisonment; however, on January 14,

2004, a hearing was held pursuant to Fed. R. Crim. Proc. 35. At that time, petitioner’s sentence

was corrected to reflect the statutory minimum sentence of 60 months imprisonment. (Doc. 197).

Petitioner did not file a direct appeal of her case.

        In her motion to vacate, petitioner claims her sentence is illegal because it violated

Blakely v. Washington, 542 U.S. 296, 124 S.Ct. 2531, 159 L.Ed.2d 403 (2004).



                                           DISCUSSION

I. Habeas Standard.

        Habeas relief is an extraordinary remedy which "may not do service for a [ ] [direct]

appeal." United States v. Frady, 456 U.S. 152, 165 (1982). A defendant who has waived or

exhausted his right to appeal is presumed to stand "fairly and finally convicted." Id. at 164

Unless a claim alleges a lack of jurisdiction or constitutional error, the scope of collateral attack

has remained extremely limited. United States v. Addonizio, 442 U.S. 178, 185 (1979). “A

defendant who enters a plea of guilty waives all nonjurisdictional challenges to the

constitutionality of the conviction” Wilson v. United States, 962 F.2d 996, 997 (11th Cir. 1992)

(citation omitted). “When a criminal defendant has solemnly admitted in open court that he is in

fact guilty of the offense with which he is charged, he may not thereafter raise independent

claims relating to the deprivation of constitutional rights that occurred prior to the entry of the


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guilty plea.” Tollett v. Henderson, 411 U.S. 258, 267 (1973). Consequently, “[i]f issues are

raised and considered on direct appeal, a defendant is thereafter precluded from urging the same

issues in a later collateral attack. ... A defendant is, of course, entitled to a hearing of his claims,

but not to duplicate hearings. The appellate process does not permit reruns.” Moore v. United

States, 598 F.2d 439, 441 (5th Cir. 1979).

        In general, claims not raised on direct appeal may not be considered on collateral attack.

A petitioner can, however, overcome his procedural default of claims not raised on direct appeal.

The burden a petitioner must meet differs, depending upon the type of claim he raises. First,

“nonconstitutional claims can be raised on collateral review only when the alleged error

constitutes a fundamental defect which inherently results in a complete miscarriage of justice or

an omission inconsistent with the rudimentary demands of fair procedure.” Burke v. United

States, 152 F.3d 1329, 1331 (11th Cir. 1998) (citations and internal quotations omitted). A

petitioner’s burden with regard to constitutional claims not presented on direct appeal is slightly

less stringent. Constitutional claims may be considered if the petitioner can “show cause

excusing his failure to raise the issues previously and actual prejudice resulting from the errors.”

Cross v. United States, 893 F.2d 1287, 1289 (11th Cir. 1990). Jurisdictional issues, however, are

not subject to procedural default because federal courts are of limited jurisdiction and the parties

cannot by waiver or default confer a jurisdictional foundation that is otherwise lacking. Harris v.

United States, 149 F.3d 1304, 1307 (11th Cir. 1998).

II. Petitioner’s Claims

        The court finds that petitioners claims are due to be denied based on the appeal waiver in

petitioner’s written plea agreement and on petitioner’s procedural default of the issues. The


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court also finds that the claims lack merit.

       As stated above regarding the habeas standard, a defendant that pleads guilty waives all

but jurisdictional claims attacking his conviction. Tollett, 411 U.S. at 266-67. Petitioner

executed a valid plea agreement in which she waived her right to appeal her sentence. A waiver

of a right to appeal sentence is enforceable if it is knowingly and voluntarily made. United States

v. Bushert, 997 F.2d 1343 (11th Cir. 1993). In this case, the court specifically questioned

petitioner concerning the sentence appeal waiver during the plea colloquy and the petitioner

indicated she understood the waiver and that she wished to proceed with her guilty plea. (Change

of Plea Transcript pp. 17-18.). A valid waiver precludes a § 2255 challenge to a sentence.

Williams v. United States, 396 F.3d 1340 (11th Cir. 2005).

       In addition, petitioner did not file a direct appeal of her case. Any claims which were not

raised on direct appeal may not be considered on collateral attack. Petitioner has not

demonstrated that this procedural default can be overcome by the constitutionally ineffective

performance of her counsel. Petitioner has not shown cause or actual prejudice for failing to

raise these issues on direct appeal. As such, the petitioner has procedurally waived her claims.

       Moreover, the court finds no merit in petitioner’s claims. The Eleventh Circuit has ruled

that Blakely v. Washington, 542 U.S. 296, 124 S.Ct. 2531, 159 L.Ed.2d 403 (2004), upon which

petitioner’s claims rely, does not apply retroactively to petitions under § 2255.

       Regardless of whether Blakely established a “new rule of constitutional law”
       within the meaning of §§ 2244(b)(2)(A) and 2255, the Supreme Court has not
       expressly declared Blakely to be retroactive to cases on collateral review. See
       generally Blakely, 124 S.Ct. at 2534-43; Tyler [v. Cain], 533 U.S. [656] at 662-
       63, 121 S.Ct. [2478] at 2482 [(2001)]. Moreover, no combination of cases
       necessarily dictate retroactivity of the Blakely decision. Tyler, 533 U.S. at 666,
       121 S.Ct. at 2484. Blakely itself was decided in the context of a direct appeal, and
       the Supreme Court has not since applied it to a case on collateral review. See id.

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       In fact, the Supreme Court has strongly implied that Blakely is not to be applied
       retroactively. The same day the Supreme Court decided Blakely, the Court also
       issued its decision in Schriro v. Summerlin, --- U.S. ----, 124 S.Ct. 2519, ---
       L.Ed.2d ---- (2004), holding that Ring v. Arizona, 536 U.S. 584, 122 S.Ct. 2428,
       153 L.Ed.2d 556 (2002), which extended application of Apprendi [v. New Jersey,
       530 U.S. 466, 120 S.Ct. 2348, 147 L.Ed.2d 435 (2000)] to facts increasing a
       defendant's sentence from life imprisonment to death, is not retroactive to cases
       on collateral review. Summerlin, 124 S.Ct. at 2526; see also Blakely, 124 S.Ct. at
       2548-49 (O'Connor, J., dissenting) (recognizing the Court's holding in Summerlin
       “that Ring (and a fortiori Apprendi) does not apply retroactively on habeas review”).

In re Dean, 375 F.3d 1287, 1290 (11th Cir. 2004). Plaintiff was convicted and sentenced prior to

the Blakely decision and therefore any argument dependent upon Blakely is without merit.

                                          CONCLUSION

       After due consideration of all matters presented and in light of the foregoing, the court

finds that petitioner’s motion to vacate, set aside, or correct sentence is due to be, and hereby is,

DENIED.

       DONE and ORDERED this 24th day of January, 2007.


                                              /s/ Callie V. S. Granade
                                          CHIEF UNITED STATES DISTRICT JUDGE




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